                                                                    SO ORDERED.


                               UNITED STATES BANKRUPTCY   COURT
                                                     Dated: February 21, 2022

                                    FOR THE DISTRICT OF ARIZONA
                                               Minute Entry
                                                                     ______________________________________
Hearing Information:                                                 Madeleine C. Wanslee, Bankruptcy Judge
                    Debtor:   SANTA CLARITA, LLC
              Case Number:    2:20-BK-12402-MCW       Chapter: 11

       Date / Time / Room:    FRIDAY, FEBRUARY 11, 2022 02:00 PM VIDEO CONF HRGS
     Bankruptcy Judge:        MADELEINE C. WANSLEE
        Courtroom Clerk:      TAYLER CARTER
         Reporter / ECR:      MICHELLE RADICKE-STEVENSON                                          0

Matters:
      1) JOINT PRE-TRIAL CONFERNCE/ INFORMAL DISCUSSION
         R / M #: 400 / 0

      2) TRUSTEE'S MOTION TO AUTHORIZE TRUSTEE TO EXECUTE LOCATION RENTAL AGREEMENTS
         R / M #: 424 / 0


Appearances:
       MICHAEL W. CARMEL,TRUSTEE
       EDWARD BERNATAVACIUS, ATTORNEY FOR U.S. TRUSTEE
       CHRISTOPHER BAYLEY, ATTORNEY FOR SANTA CLARITA, LLC
       SUSAN FREEMAN, ATTORNEY FOR FOLEY, BEZEK, BEHLE & CURTIS, LLP
       GREGORY GARMAN, ATTORNEY FOR BLUE OX HOLDINGS, LLC
       TERESA M. PILATOWICZ, ATTORNEY FOR BLUE OX HOLDINGS, LLC
       TODD BURGESS, ATTORNEY FOR REMEDIATION FINANCIAL, INC
       LINDSI WEBER, ATTORNEY FOR REMEDIATION FINANCIAL, INC
       THOMAS SALERNO, ATTORNEY FOR WHITTAKER CORPORATION
       THOMAS FOLEY, ATTORNEY FOR FOLEY, BEZEK, BEHLE & CURTIS, LLP
       NEIL STUART, ATTORNEY FOR PORTA BELLA




Page 1 of 4                                                                              02/16/2022 6:09:47PM
                              UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF ARIZONA
                                             Minute Entry
(continue)... 2:20-BK-12402-MCW    FRIDAY, FEBRUARY 11, 2022 02:00 PM

Proceedings:                                                                                      0

       Matter 2:

      Mr. Carmel reviews the motion and notes there are no objections filed. Mr. Chierighino will continue to
      maintain the property. He responds to the Court's questions. The proceeds after the sale will go into the
      estate. He confirms the studios provide their insurance. He believes Santa Clarita, LLC and Bermite
      Recovery, LLC are listed as certificate holders.

      COURT: IT IS ORDERED GRANTING THE MOTION TO AUTHORIZE TRUSTEE TO EXECUTE LOCATION
      RENTAL AGREEMENTS.

      Matter 1:

      Ms. Weber addresses the Court. She comments there has been no progress regarding the joint
      privilege issue. She requests any discussion involving the in camera submissions be held informally with
      the Court.

      COURT: THE COURT DISCUSSES MS. BOBROW'S STATEMENTS IN HER DECLARATION THAT SHE HAS
      NO PERSONAL KNOWLEDGE SURROUNDING THE CREATION OF THE RECONCILIATION OR WHETHER
      IT WAS A CONFIDENTIAL DOCUMENT SUBJECT TO EITHER TO AN ATTORNEY-CLIENT OR WORK
      PRODUCT PRIVILEGE. THE COURT QUESTIONS WHETHER A PRIVLEGE EVER EXISTED OR WAS
      WAIVED.

      Ms. Weber argues that Ms. Bobrow was included in client group one. She hopes to have additional
      information after the deposition of Mr. Elsey. She explains the document was created at the instruction
      of counsel. Her office suggests continuing the hearing or resolving the Court's concerns off record.

      Mr. Carmel states his deposition is scheduled for Monday, February 14, 2022. He will provide answers
      that may include documents submitted to the Court for in camera review.

      Ms. Weber refers to case law. The issue is if the trustee can waive joint privilege on behalf of the other
      members. She responds to the Court's questions. The parties have not agreed on a statement of issues.

      Mr. Garman argues that the document was never placed on a privilege log.

      COURT: THE COURT PLACES ITS FINDINGS AND CONCLUSIONS ON THE RECORD. IT APPEARS TO
      THE COURT THE MOTION IN LIMINE IS NOT WELL-FOUNDED OR SUPPORTED BY ADMISSIBLE
      EVIDENCE. REMEDIATION FINANCIAL, INC. FAILED TO ESTABLISH THAT THE INFORMATION IS
      COVERED BY ATTORNEY-CLIENT PRIVILEGE. AT THIS TIME, IT IS NOT NECESSARY FOR THE COURT
      TO DETERMINE THAT SUCH AN ATTORNEY-CLIENT PRIVILEGE HAS BEEN EXTENDED TO A JOINT
      DEFENSE OR COMMON INTEREST PRIVILEGE THAT MAY BE ASSERTED BY ANY OF THE MEMBERS
      ATTEMPTING TO CLAIM THE COMMON INTEREST. REMEDIATION FINANCIAL, INC. FURTHER FAILED
      TO ESTABLISH THAT THE QUALIFIED WORK PRODUCT DOCTRINE REGARDING THE PARTICULAR


Page 2 of 4                                                                                 02/16/2022 6:09:50PM
                              UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF ARIZONA
                                              Minute Entry
(continue)... 2:20-BK-12402-MCW     FRIDAY, FEBRUARY 11, 2022 02:00 PM



      INFORMATION IS NOT SUBJECT TO WAIVER. THE INVESTMENT RECONCILIATION DOES NOT
      INCLUDE ANY OPINION WORK PRODUCT AND IT IS AN ORDINARY OR FACTUAL WORK PRODUCT
      THAT MAY BE SUBJECT TO WAIVER.

      IT IS ORDERED DENYING REMEDIATION FINANCIAL, INC.'S MOTION IN LIMINE. THE TRUSTEE MAY
      PRESENT EVIDENCE CONCERNING THE INVESTMENT RECONCILIATION. IF REMEDIATION FINANCIAL,
      INC. CONTINUES TO CHALLENGE THAT ABILITY, THE TRUSTEE CAN PRESENT EVIDENCE TO
      ESTABLISH WHY THE QUALIFIED IMMUNITY UNDER THE WORK PRODUCT DOCTRINE SHOULD BE
      WAIVED BASED ON NEED AND THE INABILITY TO OBTAIN MATERIALS WITHOUT UNDUE HARDSHIP.
      FURTHERMORE, REMEDIATION FINANCIAL, INC. WILL NOT BE PERMITTED TO USE THE WORK
      PRODUCT DOCTRINE AS BOTH A SWORD AND A SHIELD. HOWEVER, REMEDIATION FINANCIAL, INC.
      CAN OPPOSE THE PROPOSED SETTLEMENT ON ANY OTHER GROUNDS. IT MAY ALSO ALLOW THE
      DOCUMENT TO BE USED BY THE TRUSTEE.

      Ms. Weber questions if the entire litigation file of the Foley Bezek Behle & Curtis LLP law firm can be
      turned over to Blue Ox Holdings, LLC.

      Ms. Freeman states her client disclosed the documents to the parties. She responds to the Court's
      questions. Mr. Carmel informed her that all of the emails and documents in the Foley Bezek Behle &
      Curtis LLP file would be turned over except for any communication solely between Ms. Bobrow and the
      Foley Bezek Behle & Curtis LLP law firm.

      COURT: THE COURT AGREES TO INFORMALLY DISCUSS THE IN CAMARA MATTERS WITH COUNSEL
      FOLLOWING TODAY'S FORMAL HEARING.

      Mr. Garman notes there is an outstanding stay relief order.

      COURT: THE COURT REVIEWED THE PARTIES' OBJECTIONS AND THE PROPOSED FORM OF ORDER
      GRANTING STAY RELIEF LODGED BY BLUE OX HOLDINGS, LLC. THE COURT REVIEWED ITS ORDER IN
      2:21-ap-00053 AT DOCKET #46. IT IS ORDERED SETTING A HEARING ON REMEDIATION FINANCIAL,
      INC.'S OBJECTION TO THE PROPOSED FORM OF ORDER LODGED BY BLUE OX HOLDINGS, LLC AND
      ANY JOINDERS THERETO FOR TUESDAY, FEBRUARY 22, 2022 AT 1:30 PM.

      ANY PARTY WISHING TO OBTAIN A WRITTEN TRANSCRIPT OF THE HEARING SHOULD CONTACT THE
      ECR DEPARTMENT AT 602-682-4200. ALTERNATIVELY, YOU MAY LISTEN TO A DIGITAL RECORDING
      OF THIS COURT PROCEEDING, WHICH IS PROVIDED BY THE COURT AS A CONVENIENCE TO THE
      PUBLIC. THE MP3 FILE WILL BE EMBEDDED AS AN ATTACHMENT IN A PDF DOCUMENT THAT WILL BE
      ON THE DOCKET WITHIN A DAY OF THE ENTRY OF THE MINUTE ENTRY. INSTRUCTIONS ON HOW TO
      LISTEN TO THE FILE WILL BE INCLUDED ON THE PDF.




Page 3 of 4                                                                                  02/16/2022 6:09:50PM
                              UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF ARIZONA
                                             Minute Entry
(continue)... 2:20-BK-12402-MCW    FRIDAY, FEBRUARY 11, 2022 02:00 PM




       SUBSEQUENTLY, AFTER DISCUSSION WITH THE PARTIES, THE COURT SET MONDAY,
       FEBRUARY 21, 2022 AS THE DATE CERTAIN FOR THE PARTIES TO FILE THEIR JOINT-PRE-TRIAL
       STATEMENT.




                                       HONORABLE MADELEINE C. WANSLEE
                                          DATED AND SIGNED ABOVE




Page 4 of 4                                                                02/16/2022 6:09:50PM
